           Case 2:10-cr-00290-KJM Document 33 Filed 01/06/11 Page 1 of 11


 1   DANIEL J. BRODERICK, #89424
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 2   JEFFREY L. STANIELS, Bar #91413
     Assistant Federal Defender
 3   Designated Counsel for Service
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 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   JACOB DANIEL COBB
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,           )   No. 2:10-cr-0290 FCD
11                                       )
                     Plaintiff,          )
12                                       )   STIPULATION AND ORDER CONTINUING
          v.                             )   CASE AND EXCLUDING TIME
13                                       )
     CECILIO MENDEZ-PRIETO, and          )   Date: January 10, 2011
14   JACOB DANIEL COBB,                  )   Time: 10:00 a.m.
                                         )   Judge: Hon. Frank C. Damrell
15                   Defendants.         )
                                         )
16   _______________________________
17        IT IS HEREBY STIPULATED by and among Assistant United States
18   Attorney Michael M. Beckwith, Counsel for Plaintiff, Assistant Federal
19   Defender Jeffrey L. Staniels, Counsel for Defendant Jacob Cobb, and
20   Erin Radekin, Counsel for Defendant Cecilio Mendez-Prieto that the
21   status conference now set for January 10, 2011, be vacated and the
22   matter continued to March 21, 2011, at 10:00 a,m for further status
23   conference.
24        This continuance is sought to permit further investigation and
25   pursuit of other aspects of defense preparation and in light of various
26   counsel’s interim schedules, including Mr. Staniels’ unavailability for
27   purposes of attending to this case for substantial parts of February
28   due to his need to prepare to participate in aspects of an extended
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 1   motion hearing scheduled before this court commencing on February 28,
 2   2011, in United States v. Harrison Jack, et. al., No. 2:07-cr-0266 FCD.
 3        It is further stipulated that time for trial under the Spepdy
 4   Trial Act be excluded between January 10, 2011, and March 21, 2011,
 5   pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4, for defense
 6   preparation and continuity of counsel.
 7        Mr. Staniels has been authorized by all counsel to sign and file
 8   this stipulation and proposed order.
 9        IT IS SO STIPULATED.
10
11   Dated: January 5, 2011                  /s/ Michael Beckwith
                                            MICHAEL BECKWITH
12                                          Assistant U.S. Attorney
                                            Counsel for Plaintiff
13
14   Dated: January 5, 2011                  /s/ Jeffrey L. Staniels
                                            JEFFREY L. STANIELS
15                                          Assistant Federal Defender
                                            Attorney for Defendant
16                                          JACOB DANIEL COBB
17   Dated: January 5, 2011                  /s/ Erin Radekin
                                            ERIN JOLENE RADEKIN
18                                          Attorney for Defendant
                                            CECILIO MENDEZ-PRIETO
19
20
21
                                        O R D E R
22
          The attached stipulation of counsel for a continuance of the above
23
     case is hereby approved.     The status conference scheduled for January
24
     10, 2010, is vacated.    A further status conference is hereby calendared
25
     for March 21, 2011, at 10:00 a.m.
26
          Time for trial under the Speedy Trial Act is excluded from the
27
     time within which trial must commence from January 10, 2011, until
28
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 1   March 21, 2011, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code
 2   T-4 for defense preparation and continuity of counsel.
 3        IT IS SO ORDERED.
 4                            By the Court,
 5
 6   Dated:     January 6, 2011                 _______________________________________
                                                FRANK C. DAMRELL, JR.
 7                                              UNITED STATES DISTRICT JUDGE
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            Case 2:10-cr-00290-KJM Document 33 Filed 01/06/11 Page 4 of 11


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 7   Law Offices Erin J. Radekin
     A Professional Corporation
 8   428 J Street
     Suite 350
 9   Sacramento, CA 95814
     Attorney for Defendant
10   CECILIO MENDEZ-PRIETO
11   BENJAMIN B. WAGNER
     United States Attorney
12   MICHAEL M. BECKWITH
     Assistant U.S. Attorney
13   501 I Street
     Suite 10-100
14   Sacramento, CA 95814
     Attorney for Plaintiff
15
16                        IN THE UNITED STATES DISTRICT COURT
17                      FOR THE EASTERN DISTRICT OF CALIFORNIA
18
     UNITED STATES OF AMERICA,            ) No. 2:10-cr-0290 FCD
19                                        )
                      Plaintiff,          )
20                                        ) [PROPOSED] PROTECTIVE ORDER
          v.                              )
21                                        )      UNDER SEAL
     CECILIO MENDEZ-PRIETO, and           )
22   JACOB DANIEL COBB,                   ) Judge:    Hon. Kendall J. Newman
                                          )           (In Chambers)
23                    Defendants.         )
                                          )
24   _______________________________
25
     A.   REASON FOR AND SCOPE OF PROTECTIVE ORDER
26
          All counsel acknowledge that discovery of a sensitive nature Bates
27
28                                            1
            Case 2:10-cr-00290-KJM Document 33 Filed 01/06/11 Page 5 of 11


 1   stamped “0001" through “0014" has been provided to both defense
 2   counsel.    Specifically counsel agree that unauthorized further
 3   dissemination of information contained in this discovery raises
 4   concerns for the physical safety of each defendant. Pursuant to the
 5   provisions of Federal Rule of Criminal Procedure 16(d), it has been
 6   agreed by all counsel that the following terms govern further
 7   dissemination and disclosure of the contents of this discovery.
 8   B.   LIMITATIONS AS TO FURTHER DISCLOSURE OF THE ABOVE LISTED DISCOVERY.
 9        1.    Subject only to more specific terms listed below, no
10   disclosure of the contents of pages 0001 through 0010 of this discovery
11   will be made by defense counsel and no written copies of this material
12   will be provided to any person who is not engaged by defense counsel to
13   aid in the representation of one of the above named defendants.
14        2.    To the extent that disclosure to other members of the defense
15   teams of either defense counsel is permitted under this order, no such
16   disclosure will be made except to persons who previously have agreed,
17   by signing a copy of this order, to be bound by its terms.
18        3.    Each attorney undertakes to maintain a copy of this order
19   together with any required additional signatures in their files.
20        4.    This protective order will remain in effect during and after
21   the termination of this case except as may be modified by further order
22   of the court.
23        5.    Mr. Staniels undertakes and agrees not to disclose to his
24   client or to anyone other than lawyers and investigators in his own
25   office anything contained in pages 0001 through 0003 except upon later
26   application to the court, with notice to the government and Ms.
27   Radekin, and approval by the court.
28                                            2
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 1        6.     Both Ms. Radekin and Mr. Staniels undertake and agree not to
 2   disclose to their respective clients or to anyone except persons who
 3   may be assisting in the defense of this case and who have undertaken in
 4   writing to be bound by the terms of this order the fact that the other
 5   attorney's client in this case have expressed a willingness to consider
 6   cooperating with the government.
 7        7.     Ms. Radekin undertakes and agrees not to disclose to any other
 8   person any of the contents commencing with paragraph 9, on page 0006
 9   through the end of page 0010.
10        8.     Ms. Radekin further undertakes and agrees not to provide a
11   written copy of pages 0004 through 0006 to her client or to any other
12   person except persons engaged to assist her in defending her client and
13   who have previously agreed in writing to be bound by the terms of this
14   order.
15        9.     Ms. Radekin undertakes and agrees not to disclose to any other
16   person the following portions of pages 0004 through 0006:
17                a.   The last sentence of the synopsis on p. 0004.
18                b.   The last sentence of paragraph 5 on p. 0005.
19                c.   That portion of the first sentence of paragraph 7 on page
20   0006 commencing with the word “whom” on line 1 and ending with the word
21   “Mendez” on line 3.
22        10. Ms. Radekin undertakes and agrees not to disclose to anyone
23   other than her own client the source of the information contained in
24   paragraphs 4, 5, and 6, on page 0005.          Except for the last sentence of
25   paragraph 5, which Ms. Radekin has undertaken not to disclose to anyone
26   (see item 9.b., above), Ms. Radekin is free to discuss the contents of
27   these three paragraphs with her client and to allow him to read the
28                                              3
              Case 2:10-cr-00290-KJM Document 33 Filed 01/06/11 Page 7 of 11


 1   paragraphs in her presence for the purpose of providing appropriate
 2   counsel and representation. HOWEVER, under no circumstances shall she
 3   allow her client to take possession of a written copy of these
 4   paragraphs.
 5        IT IS SO ORDERED.
 6                                  By the Court,
 7
 8   Dated:     August       , 2010
                                               Hon. KENDALL J. NEWMAN
 9                                             United States Magistrate Judge
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            Case 2:10-cr-00290-KJM Document 33 Filed 01/06/11 Page 8 of 11


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                      Plaintiff,          )
20                                        ) [PROPOSED] PROTECTIVE ORDER
          v.                              )
21                                        )      UNDER SEAL
     CECILIO MENDEZ-PRIETO, and           )
22   JACOB DANIEL COBB,                   ) Judge:    Hon. Kendall J. Newman
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          All counsel acknowledge that discovery of a sensitive nature Bates
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 8   Dated:   August     , 2010
                                            Hon. KENDALL J. NEWMAN
 9                                          United States Magistrate Judge
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